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 2
 3                        UNITED STATES DISTRICT COURT

 4                       EASTERN DISTRICT OF CALIFORNIA

 5
 6   DUSTIN OXBORROW                        1:07-CV-00237 OWW SMS
 7                     Plaintiff,
                                            MEMORANDUM DECISION AND ORDER
 8        v.                                GRANTING DEFENDANTS’ MOTION
                                            FOR SUMMARY JUDGMENT (Doc. 17)
 9   CITY OF COALINGA, CHIEF
     PATRICIA MEDINA, OFFICER
10   MICHAEL TINGLEY, CPL. CHRIS
     SIMMONS, and DOES 1 through
11   10, inclusive,
12                     Defendants.
13
14                              1.   INTRODUCTION
15        This matter comes before the court on Defendants’ City of
16   Coalinga (“City”), Chief Patricia Medina (“Chief Medina”),
17   Officer Michael Tingley (“Tingley”), CPL. Chris Simmons
18   (“Simmons”) motion for summary judgment to adjudicate Plaintiff
19   Dustin Oxborrow’s (“Oxborrow”) § 1983 claims under the Fourth and
20   Fourteenth Amendment for unlawful use of force and right to be
21   free from unreasonable searches and seizures.       Oral argument was
22   heard on May 5, 2008.
23                         2.   PROCEDURAL BACKGROUND
24        Plaintiff filed his complaint on February 13, 2007.        (Doc.
25   1, Complaint)   On March 31, 2008, Defendants filed a motion for
26   summary judgment.    (Doc. 17, Motion for Summary Judgment)
27   Plaintiff opposed the motion on April 21, 2008.       (Doc. 20,
28

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 1   Opposition)    Defendants filed their reply on April 28, 2008.

 2   (Doc. 23, Reply)

 3                            3.    FACTUAL BACKGROUND

 4   A.    Undisputed Facts

 5         On January 1, 2006, shortly after midnight, Dustin Oxborrow

 6   and Russ Bridges went to Outlaws Bar in Coalinga, California.

 7   (DSUF 1)    While at Outlaws Bar both Mr. Oxborrow and Mr. Bridges

 8   drank alcoholic beverages.        (DSUF 2)      After being there a short

 9   time they decided to leave.        (DSUF 3)      Mr. Oxborrow and Mr.

10   Bridges went to Mr. Oxborrow’s parked car in the Outlaws Bar

11   parking lot and sat in the vehicle, rather than leave

12   immediately.     (DSUF 4)     The men were approached by Michelle

13   Madrigal, whom they knew.        (DSUF 5)      Ms. Madrigal got into Mr.

14   Oxborrow’s car and sat in Mr. Bridges’ lap.            (DSUF 6)   A witness,

15   Jose Lopez, heard a commotion coming from Mr. Oxborrow’s car and

16   believed Ms. Madrigal was being sexually assaulted.            (DSUF 7)

17   Mr. Lopez then removed Ms. Madrigal from the car and took her to

18   the front door of the bar, leaving her there with an employee of

19   Outlaws Bar.     (DSUF 8)     Mr. Oxborrow and Mr. Bridges did not

20   leave the parking lot.        (DSUF 9)       Several people approached Mr.

21   Oxborrow’s vehicle, including Mr. Lopez, David Deling and Sara

22   Scott, who was the Outlaws Bar employee working at the door

23   checking ID's.     (DSUF 10)     When Mr. Lopez, Mr. Deling and Ms.

24   Scott returned to the car, Mr. Oxborrow had a gun, and he racked

25   a bullet into the chamber.        (DSUF 11)

26         A call came into dispatch on New Years Eve reporting that

27   there was a man with a gun in the parking lot of the Outlaws Bar.

28    (DSUF 21)    Two of the witnesses interviewed by Officer Tingley

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 1   stated they heard a noise and saw Plaintiff with a gun.           (DSUF

 2   22)    One of the witnesses called 911 and reported the incident.

 3   (DSUF 23)     Officer Tingley has testified that Plaintiff was

 4   clearly intoxicated at the time the police arrived, exhibiting a

 5   strong odor of alcohol, bloodshot watery eyes and Plaintiff

 6   admitted to the officers that he had been drinking.           (DSUF 24)

 7   Plaintiff admitted that he had not driven from the scene as he

 8   was concerned about being too intoxicated to drive.           (DSUF 25)

 9   Officer Tingley testified that he did not believe Plaintiff acted

10   in self-defense as he had the opportunity to leave the parking

11   lot either by foot or in the car and choose not to.           Defendant

12   Officer Tingley believed that someone in fear of their life would

13   do just about anything to remove themself from such a situation.

14   (DSUF 27)     Plaintiff admitted he attempted to conceal the gun,

15   and thought he had been successful.         (DSUF 28)

16          Mr. Bridges never considered driving himself and Plaintiff

17   from Outlaws Bar.      (DSUF 40)    Plaintiff and his friend, Mr.

18   Bridges both testified that they could have left the scene,

19   through many options, but choose not to leave.          (DSUF 41)    When

20   Plaintiff obtained his gun from the truck, there was no one

21   present confronting him.       (DSUF 42)

22          After completing his investigation, Officer Tingley cited

23   Mr. Oxborrow with carrying a concealed weapon and exhibiting a

24   firearm.     (DSUF 14)   The District Attorney filed charges against

25   Mr. Oxborrow, including Penal Code section 12025(a)(1), concealed

26   firearm in a vehicle, Penal Code section 417(a)(2), drawing or

27   exhibiting a firearm, and Penal Code section 12031(a)(1) carrying

28   a loaded firearm.      (DSUF 16)    A criminal trial was held and Mr.

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 1   Oxborrow was acquitted of the charges.        (DSUF 17)   Shortly after,
 2   the trial judge made a finding of factual innocence and ordered
 3   the records sealed and eventually destroyed.         (DSUF 16)     After
 4   opening statements the prosecutor withdrew the first count,
 5   concealed firearm in a vehicle.       (DSUF 19)    The court acquitted
 6   Mr. Oxborrow of count 2, drawing or exhibiting a firearm and the
 7   jury found Mr. Oxborrow not guilty of the third count, carrying a
 8   loaded firearm.     (DSUF 20)
 9          Plaintiff has designated no experts.       (DSUF 47)   No
10   discovery has been conducted on the issue of Defendant City of
11   Coalinga discriminating against non-residents of Coalinga.            (DSUF
12   50)1
13   B.     Disputed Facts
14          Plaintiff contends that Mr. Lopez, who approached the car
15   where Plaintiff was located, is 6’2” and weighs 280 lbs.            He was
16   joined by a dozen persons initially, and the group quickly
17   swelled to at least 18 or 20, who were calling Plaintiff and Mr.
18   Bridges “rapists.”      They also yelled “we’ll kill you.”       (PSUF 10)
19
20          Defendants contend that when Mr. Lopez, Mr. Deling and Ms.
21   Scott returned to the car, Mr. Oxborrow had a gun, and he racked
22   a bullet into the chamber.      (DSUF 11)    Plaintiff contends he did
23   this because he feared for his life and that of Mr. Bridges and
24
            1
25          Defendants’ facts 29-39, 43-46, 48-49 are undisputed facts
     concerning Defendant Sergeant Simmons and Defendant Chief Medina.
26   Plaintiff does not dispute these facts because he has indicated
27   in his Opposition that he will stipulate to their dismissal. The
     facts pertinent to these Defendants are omitted from the fact
28   section.

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 1   was calling 911.   (PSUF 11)
 2        Defendants contend that when the police arrived, with guns
 3   drawn, they detained all individuals around Plaintiff’s vehicle.
 4   (DSUF 12)   Plaintiff asserts that when Defendant Tingley arrived,
 5   he asked who had the gun.    Plaintiff Oxborrow told him the gun
 6   was on the front seat of the car in plain view and Defendant
 7   Tingley saw the gun in plain view.     (PSUF 12)
 8        Plaintiff alleges that he volunteered to Defendant Officer
 9   Tingley that there was a gun, that it belonged to him, and that
10   he had retrieved it from the trunk, and placed it in plain view
11   on the front seat because he believed that the mob was about to
12   kill him and Mr. Bridges.    But he was arrested anyway.      (PSUF 13)
13   Defendant maintains that Plaintiff Oxborrow was placed under
14   arrest for carrying a loaded firearm in a vehicle, after Mr.
15   Oxborrow told Officer Tingley the gun in the car was his and he
16   did not have a concealed weapons permit.      (DSUF 13)
17        Plaintiff contends that Defendant Tingley in his probable
18   cause declaration to justify the arrest, stated under oath that
19   “Oxborrow admitted to chambering one round to protect his life.”
20   And this is a complete defense to both charges and Defendant
21   Tingley should have known that.     (PSUF 14)
22        Defendants contend that Plaintiff was cited and released
23   within a few hours.   (DSUF 15)    Plaintiff contends he was left
24   handcuffed in an uncomfortable position desperately needing to
25   urinate for an “immense amount of time.”      (PSUF 15)
26        Defendant Officer Tingley states that he did not believe
27   Plaintiff was acting in self-defense as Plaintiff was not the
28   target of the individuals at the scene.      It was his friend who

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 1   the individuals were addressing.         (DSUF 26)   Plaintiff contends
 2   that he believed that both he and Mr. Bridges’ lives were
 3   threatened.    (PSUF 26)
 4   C.    Curtis J. Cope: Former Police Instructor and Officer
 5         Curtis J. Cope, was a member of the United States Army (2
 6   years) and a Police Officer for twenty nine and half years in
 7   Santa Ana and Huntington Beach, California.          (Doc. 17-6, p. 1:26-
 8   25-2:1)    Mr. Cope also served as an instructor at the Regional
 9   Criminal Justice Training Center at Golden West College for
10   twenty-seven years.     (Id. at p. 2:15-17)
11         During Mr. Cope’s service in law enforcement, he served in
12   the rank of police officer as a Patrol Officer, Motor Officer,
13   Special Enforcement Team Officer, SWAT Officer, Field Training
14   Officer, Defense Tactics Instructor for Huntington Beach P.D. and
15   temporary assignments as background investigator and helicopter
16   observer.    (Id. at p. 2:1-4)     Mr. Cope also attained the rank of
17   Sergeant as a Patrol Supervisor, Motor Supervisor, Accident
18   Investigation Supervisor, SWAT Team Supervisor, Special
19   Enforcement Team Supervisor, Liaison to the Uniform Division
20   Commander, Lead Defense Tactics Instructor and FTO Program
21   Supervisor and many associated duties.         (Id. at p. 2:4-7)    Mr.
22   Cope was promoted to the rank of Lieutenant as a Patrol Watch
23   Commander, COP Area Commander, General Investigation Bureau
24   Commander, SWAT Team Leader, Lead Defense Tactics Instructor, FTO
25   Program Manager and many associated duties.          (Id. at p. 2:7-10)
26   Mr. Cope has participated in developing and serving search
27   warrants in excess of 100 occasions.         (Id. at p. 2:10-11)
28         Mr. Cope has trained over 9,000 police officers or recruit

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 1   trainees through his teaching career.      (Id. at p. 2:17-18)     Mr.
 2   Cope has taught and been a subject matter expert for Peace
 3   Officer Standards and Training (POST), developed curriculum,
 4   developed standards for training, developed and taught a wide
 5   range of law enforcement course work for over thirty-seven years.
 6   (Id. at p. 2:18-20)   Mr. Cope has assisted in the development of
 7   and continues to administer and teach in California POST
 8   Institute of Criminal Investigations (ICI) Instructor Workshop
 9   Series, which provides training throughout California to law
10   enforcement investigators or detectives.      (Id. at p. 2:20-23)
11        Mr. Cope has professional certificates from the California
12   Commission on Peace Officer Standards and Training (POST) in the
13   following areas: Basic (1970); Intermediate (1975); Advanced
14   (1977); Supervisory (1983); Management (1992); and Master
15   Instructor (1994).    (Id. at p. 2:13-15)    Mr. Cope claims he has
16   expertise in the use of force, arrest, control tactics, patrol
17   procedures and practices, detective procedures and practices,
18   supervision, report writing, training, adult learning and
19   instructor development.    (Id. at p. 2:25-27)
20        Mr. Cope has testified as an expert in over 100 law
21   enforcement cases in Municipal, Superior and Federal Courts.            Mr.
22   Cope has given deposition or trial testimony in several state and
23   federal courts.   (Id. at p. 2:25-3:2)     Mr. Cope has reviewed
24   pertinent documents in this suit, including, the Complaint, the
25   criminal trial transcript, depositions, police department records
26   and the Commission on Peace Officer Standards and Training Basic
27   Academy Workbook Series.    (Id. at p. 3-16)
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 1                             4.   LEGAL BACKGROUND
 2   A.    Summary Judgment Standard
 3         Summary judgment is warranted only “if the pleadings,
 4   depositions, answers to interrogatories, and admissions on file,
 5   together with the affidavits, if any, show that there is no
 6   genuine issue as to any material fact.”        Fed. R. Civ. P. 56(c);
 7   California v. Campbell, 138 F.3d 772, 780 (9th Cir. 1998).
 8   Therefore, to defeat a motion for summary judgment, the non-
 9   moving party must show (1) that a genuine factual issue exists
10   and (2) that this factual issue is material.         Id.   A genuine
11   issue of fact exists when the non-moving party produces evidence
12   on which a reasonable trier of fact could find in its favor
13   viewing the record as a whole in light of the evidentiary burden
14   the law places on that party.       See Triton Energy Corp. v. Square
15   D Co., 68 F.3d 1216, 1221 (9th Cir. 1995); see also Anderson v.
16   Liberty Lobby, Inc., 477 U.S. 242, 252-56 (1986).          Facts are
17   “material” if they “might affect the outcome of the suit under
18   the governing law.”     Campbell, 138 F.3d at 782 (quoting Anderson,
19   477 U.S. at 248).
20         The nonmoving party cannot simply rest on its allegations
21   without any significant probative evidence tending to support the
22   complaint.    Devereaux v. Abbey, 263 F.3d 1070, 1076 (9th Cir.
23   2001).
24                [T]he plain language of Rule 56(c) mandates the
                  entry of summary judgment, after adequate time
25                for discovery and upon motion, against a party
                  who fails to make a showing sufficient to
26                establish the existence of an element essential
                  to the party's case, and on which that party
27                will bear the burden of proof at trial. In such
                  a situation, there can be “no genuine issue as
28                to any material fact,” since a complete failure

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 1                of proof concerning an essential element of the
                  nonmoving party’s case necessarily renders all
 2                other facts immaterial.
 3   Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986).          The more
 4   implausible the claim or defense asserted by the nonmoving party,
 5   the more persuasive its evidence must be to avoid summary
 6   judgment.    See United States ex rel. Anderson v. N. Telecom,
 7   Inc., 52 F.3d 810, 815 (9th Cir. 1995).        Nevertheless, the
 8   evidence must be viewed in a light most favorable to the
 9   nonmoving party.     Anderson, 477 U.S. at 255.      A court’s role on
10   summary judgment is not to weigh evidence or resolve issues;
11   rather, it is to determine whether there is a genuine issue for
12   trial.    See Abdul-Jabbar v. G.M. Corp., 85 F.3d 407, 410 (9th
13   Cir. 1996).
14   B.     Summary Judgment in a Qualified Immunity Case
15          All individual Defendants invoke the defense of qualified
16   immunity.    Deciding qualified immunity entails a two-step
17   analysis.    First, whether a constitutional violation occurred at
18   all.    If the answer to this question is yes, the court must then
19   inquire whether the right violated was “clearly established” by
20   asking whether a reasonable officer could believe that the
21   defendant’s actions were lawful.         See Saucier v. Katz, 533 U.S.
22   194, 201 (2001).
23          The traditional summary judgment approach should be used in
24   analyzing the first step of the Saucier analysis:
25               A court required to rule upon the qualified immunity
                 issue must consider, then, this threshold question:
26               Taken in the light most favorable to the party
                 asserting the injury, do the facts alleged show the
27               officer's conduct violated a constitutional right?
                 Where the facts are disputed, their resolution and
28               determinations of credibility are manifestly the

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 1                province of a jury.
 2   Wall v. County of Orange, 364 F.3d 1107, 1110-1111 (9th Cir.
 3   2004) (internal citations and quotations omitted).          In the second
 4   step, the court must ask whether it would be clear to a
 5   reasonable officer that his conduct was unlawful in the situation
 6   confronted.     Although this inquiry is primarily a legal one,
 7   where the reasonableness of the officer’s belief that his conduct
 8   was lawful “depends on the resolution of disputed issues of
 9   fact...summary judgment is not appropriate.”         Wilkins v. City of
10   Oakland, 350 F.3d 949, 956 (9th. Cir. 2003) (citing Saucier, 533
11   U.S. at 216 (Ginsburg J., concurring).)
12   C.     Civil Rights Claims Under 42 U.S.C. Section 1983
13          “Section 1983 provides for liability against any person
14   acting under color of law who deprives another ‘of any rights,
15   privileges, or immunities secured by the Constitution and laws’
16   of the United States.”      S. Cal. Gas Co. v. City of Santa Ana, 336
17   F.3d 885, 887 (9th Cir. 2003)(quoting 42 U.S.C. § 1983).           “The
18   rights guaranteed by section 1983 are ‘liberally and beneficently
19   construed.’”     Id. (quoting Dennis v. Higgins, 498 U.S. 439, 443
20   (1991)).     Pursuant to 42 U.S.C. § 1983, Plaintiff may bring a
21   civil action for deprivation of rights under the following
22   circumstances:
23           Every person who, under color of any statute,
             ordinance, regulation, custom, or usage, of any State
24           or Territory or the District of Columbia, subjects,
             or causes to be subjected, any citizen of the United
25           States or other person within the jurisdiction
             thereof to the deprivation of any rights, privileges,
26           or immunities secured by the Constitution and laws,
             shall be liable to the party injured in an action at
27           law, suit in equity, or other proper proceeding for
             redress, except that in any action brought against a
28           judicial officer for an act or omission taken in such

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 1           officer’s judicial capacity, injunctive relief shall
             not be granted unless a declaratory decree was
 2           violated or declaratory relief was unavailable. For
             the purposes of this section, any Act of Congress
 3           applicable exclusively to the District of Columbia
             shall be considered to be a statute of the District
 4           of Columbia.
 5          To establish personal liability in a § 1983 action, it is
 6   enough to show that the official, “acting under color of state
 7   law, caused the deprivation of a federal right.”          Hafer v. Melo,
 8   502 U.S. 21, 25 (1991) (internal quotations omitted).          Public
 9   officials sued in their personal capacity may assert personal
10   liability defenses, such as qualified immunity.          Dittman v.
11   California, 191 F.3d 1020, 1027 (9th Cir. 1999).
12                                 5.   DISCUSSION
13   A.     § 1983 Fourth Amendment Unreasonable Search and Seizure
14          I.    Claims Against Defendants Chief Patricia Medina and
                  Defendant CPL. Chris Simmons
15
            Plaintiff Oxborrow’s Opposition to Defendants’ Statement of
16
     Undisputed Facts, states: “Plaintiff does not dispute the facts
17
     regarding Sergeant Simons and Chief Medina.         He therefore will
18
     stipulate to their dismissal.”       (Doc. 19, p.4:20-22).     Plaintiff
19
     provides no evidence relating to Defendant Simons and Medina on
20
     the first claim under the Fourth and Fourteenth Amendment, second
21
     claim under Section 1983, Policy and Custom and third claim,
22
     Section 1983, Equal Protection under the Fourteenth Amendment.
23
     Defendants’ Motion for Summary Judgment as to these claims for
24
     Defendants Simons and Medina is GRANTED.
25
            II.   Official Capacity
26
            Plaintiff brings suit under § 1983 for violation of his
27
     civil rights to be free from unreasonable search and seizure
28

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 1   under the Fourth Amendment (First Claim) and violation of equal
 2   protection of the laws under the Fourteenth Amendment (Third
 3   Claim) against Defendant Officer Tingley in his official
 4   capacity.
 5          When state officials are sued in their official-capacities,
 6   the suit is treated as against the state.      Kentucky v. Graham,
 7   473 U.S. 159, 166 (1985); Doe v. Lawrence Livermore Nat’l Lab.,
 8   131 F.3d 836, 839 (9th Cir. 1997).     “1983 claims against
 9   government officials in their official capacities are really
10   suits against the governmental employer because the employer must
11   pay any damages awarded.”    Butler v. Elle, 281 F.3d 1014, 1023
12   fn. 8 (9th Cir. 2002).    In such suits, the real party in interest
13   is the entity for which the official works.      Hafer v. Melo, 502
14   U.S. 21, 25 (1991).    By contrast, “[p]ersonal-capacity suits seek
15   to impose personal liability upon a government official for
16   actions [taken] under color of state law.”      Graham, 473 U.S. at
17   165.
18          A suit against Defendant Tingley, in his official capacity
19   is the same as a suit against the payor of any damages that may
20   be awarded, therefore the proper defendant is Defendant City of
21   Coalinga.
22          Plaintiff’s § 1983 claim against Defendant Tingley in his
23   official capacity is DISMISSED from the suit WITH PREJUDICE, it
24   is redundant.
25          III. Fourth Amendment: Unreasonable Search and Seizure
26          “It is not disputed that the Constitution permits an officer
27   to arrest a suspect without a warrant if there is probable cause
28   to believe that the suspect has committed or is committing an

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 1   offense.”   Michigan v. DeFillippo, 443 U.S. 31, 36 (1979).       “The
 2   validity of the arrest does not depend on whether the suspect
 3   actually committed a crime; the mere fact that the suspect is
 4   later acquitted of the offense for which he is arrested is
 5   irrelevant to the validity of the arrest.      We have made clear
 6   that the kinds and degree of proof and the procedural
 7   requirements necessary for a conviction are not prerequisites to
 8   a valid arrest.”   Id.   “‘[P]robable cause’ to justify an arrest
 9   means facts and circumstances within the officer's knowledge that
10   are sufficient to warrant a prudent person, or one of reasonable
11   caution, in believing, in the circumstances shown, that the
12   suspect has committed, is committing, or is about to commit an
13   offense.”   Id. at 37.
14        There is no dispute that Officer Tingley was acting under
15   color of state law when he arrested Plaintiff.       Plaintiff must
16   also prove deprivation of a federal constitutional or federal
17   statutory right.   Plaintiff contends that his misdemeanor arrest
18   for alleged violations of California Penal Code Sections 12025
19   and 417, both misdemeanors in California, violated his Fourth
20   Amendment rights because the alleged crimes were not committed in
21   Defendant Officer Tingley’s presence.     Plaintiff also contends
22   that Defendant Officer Tingley did not have probable cause to
23   arrest him because Plaintiff told Tingley that he was the owner
24   of the gun, the gun was in plain view and he had the gun in plain
25   view because he feared for his life, and needed it for self-
26   defense.
27        Plaintiff’s contention that his Fourth Amendment rights were
28   violated because he was arrested for misdemeanor violations not

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 1   committed in the presence of Officer Tingley, is not sustainable.
 2   Barry v. Fowler, 902 F.2d 770 (9th Cir. 1990) acknowledges that
 3   under California law, an officer may make a warrantless arrest
 4   only if he has reasonable cause to believe that a person has
 5   committed a misdemeanor in his presence under Cal.Penal Code §
 6   836, subd. 1, however “section 1983 action is not dependent on
 7   whether [the Officer] was present when [the plaintiff] committed
 8   the misdemeanor.   Rather, the crucial inquiry is whether [the
 9   Officer] had probable cause to make the arrest.”       Id. at 772
10   (emphasis added) (no Fourth Amendment violation in § 1983 case
11   when plaintiff arrested in violation of a state law.)       The
12   question of whether the officer had probable cause based on the
13   disputed facts is generally a question for the jury.       McKenzie v.
14   Lamb, 738 F.2d 1005, 1008 (9th Cir. 1984).
15        Plaintiff cites Atwater v. City of Lago Vista, 532 U.S. 318
16   (2001) for the principle that a presence requirement is
17   necessary, but there however the Court specifically stated it was
18   not addressing this requirement: “We need not, and thus do not,
19   speculate whether the Fourth Amendment entails an ‘in the
20   presence’ requirement for purposes of misdemeanor arrests.”         Id.
21   at 341 fn. 11.
22        Plaintiff also brings his Section 1983 suit claiming the
23   arrest was not grounded in state law.     It is proper to look to
24   state law in determining whether or not an arrest was
25   constitutional.    Bingham v. City of Manhattan Beach, 341 F.3d
26   939, 950 (9th Cir. 2003); Edgerly v. City & County of San
27   Francisco, 495 F.3d 645, 655 (9th Cir. 2007).      “To determine
28   whether the Officers had probable cause at the time of the

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 1   arrest, we consider ‘whether at that moment the facts and
 2   circumstances within [the Officers'] knowledge ... were
 3   sufficient to warrant a prudent man in believing that the
 4   petitioner had committed or was committing an offense.’”
 5   Edgerly, 495 F.3d at 651, quoting Beck v. Ohio, 379 U.S. 89, 91
 6   (1964). “[P]robable cause supports an arrest so long as the
 7   arresting officers had probable cause to arrest the suspect for
 8   any criminal offense, regardless of their stated reason for the
 9   arrest ... however, an arrest is still unlawful unless probable
10   cause existed under a specific criminal statute.”       Id. at 651-652
11   [citations omitted].
12        Here, Officer Tingley claims he had probable cause to arrest
13   Plaintiff for carrying a concealed weapon, under California Penal
14   Code § 12025 and exhibiting a firearm, under California Penal
15   Code § 417(a)(2) and recommended charges be filed on these two
16   violations.   The District Attorney filed three charges against
17   Plaintiff: violation of California Penal Code section
18   12025(a)(1), concealed firearm in vehicle; California Penal Code
19   section 417(a)(2), drawing or exhibiting a firearm; and
20   California Penal Code section 12031(a)(1), carrying a loaded
21   firearm.
22        California Penal Code Section 12025(a)(1), titled “Carrying
23   weapon concealed within vehicle or on person; offense; arms in
24   holster or sheath,” provides2:
25
          2
            Plaintiff also cites and addresses California Penal Code §
26   12031: “(a)(1) A person is guilty of carrying a loaded firearm
27   when he or she carries a loaded firearm on his or her person or
     in a vehicle while in any public place or on any public street in
28   an incorporated city or in any public place or on any public

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 1             (a) A person is guilty of carrying a concealed firearm
               when he or she does any of the following:
 2             (1) Carries concealed within any vehicle which is under
               his or her control or direction any pistol, revolver,
 3             or other firearm capable of being concealed upon the
               person.
 4
     Cal.Penal Code § 12025(a)(1).
 5
          California Penal Code Section 417(a)(2), titled “Drawing,
 6
     exhibiting, or using firearm or deadly weapon; self defense;
 7
     peace officers,” provides:
 8
               (2) Every person who, except in self-defense, in the
 9             presence of any other person, draws or exhibits any
               firearm, whether loaded or unloaded, in a rude, angry,
10             or threatening manner, or who in any manner, unlawfully
               uses a firearm in any fight or quarrel is punishable as
11             follows:
12               (A) If the violation occurs in a public place and
                 the firearm is a pistol, revolver, or other firearm
13               capable of being concealed upon the person, by
                 imprisonment in a county jail for not less than
14               three months and not more than one year, by a fine
                 not to exceed one thousand dollars ($1,000), or by
15               both that fine and imprisonment.
16               (B) In all cases other than that set forth in
                 subparagraph (A), a misdemeanor, punishable by
17               imprisonment in a county jail for not less than
                 three months.
18
19   Cal.Penal Code § 417(a)(2).
20        Plaintiff contends that as to probable cause for arrest
21   under California Penal Code § 12025, it is undisputed that the
22   weapon in issue was found in plain view on the front seat of the
23   auto, therefore nothing criminal was observed by Officer Tingley.
24        As to probable cause for arresting Plaintiff in violation of
25   California Penal Code § 417(a)(2), Plaintiff argues that Officer
26
     street in a prohibited area of unincorporated territory.”
27   However, Officer Tingley did not claim probable cause to arrest
     Plaintiff for this offense.
28

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 1   Tingley was aware that Plaintiff had accessed and loaded the
 2   weapon in lawful self-defense of himself and others.       Officer
 3   Tingley arrived on the scene and asked who had the gun. Plaintiff
 4   states that he told Officer Tingley that the gun was his, Officer
 5   Tingley saw that the gun was in plain view in the front seat of
 6   his vehicle, and Plaintiff had the gun in plain view because he
 7   feared for his life.    Plaintiff also asserts that he did not
 8   exhibit his weapon in a rude or angry manner either in or out of
 9   Officer Tingley’s presence.    Plaintiff relies on a published
10   opinion by former California Attorney General Stanley Mosk, which
11   opines in regards to Penal Code Section 12025, that it “does not
12   prohibit the carrying of a concealable firearm on the seat of
13   automobile so long as the weapon is exposed to plain view.”        38
14   Cal.Op.Atty.Gen. 199.    Plaintiff provides no case law supporting
15   this opinion.   This is not a clearly established area of the law.
16        Officer Tingley in response states that he was responding to
17   a New Years Eve 911 call, reporting that there was a man with a
18   gun in the parking lot of Outlaws bar.     In opposition to
19   Plaintiff’s self-defense assertion, Officer Tingley responds that
20   Plaintiff appeared intoxicated, that Plaintiff stated to him that
21   he had an opportunity to leave but choose not to because he was
22   too intoxicated.   All this weighed in Officer Tingley’s
23   determination that there was no valid self-defense claim.
24   Officer Tingley states that if Plaintiff was in fear of his life
25   and safety, one would do pretty much “everything and anything to
26   remove themself from the situation if, in fact, the person is in
27   fear for his life.”    (Doc. 17, Decl. Hager, Exhibit L, Depo.
28   Tingley, p. 56:20-25-57:1-23)    Defendant Officer Tingley alleges

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 1   that Plaintiff had the opportunity to slowly walk away or run
 2   away from the scene because Mr. Lopez, who was posing all the
 3   threat (including against Mr. Bridges), had left the scene.        But
 4   Plaintiff and Mr. Bridges remained sitting in their vehicle for a
 5   period of time when they had the opportunity to leave.        (Id., p.
 6   60:10-16)    Further, two of the witnesses Officer Tingley
 7   interviewed stated they heard a noise and saw Plaintiff holding a
 8   gun.    Plaintiff admitted he attempted to conceal the gun and
 9   thought he had been successful.     Plaintiff’s gun was loaded and
10   it was not in plain view.    Plaintiff admitted to Officer Tingley
11   that he did not have a concealed weapons permit.       Plaintiff did
12   not have the gun in plain sight nor did Plaintiff have the gun in
13   a locked box within his car.    Defendant also argues that while
14   Plaintiff argues the gun was in plain sight, on the front seat of
15   the car, Plaintiff testified that he was trying to conceal the
16   gun.    Defendant argues that whether an officer had probable cause
17   to arrest is determined at the time of the arrest not the facts
18   thereafter.
19          There are disputed issues of material fact concerning
20   whether Plaintiff acted in self-defense, acted in a rude and
21   threatening manner, and concealed a weapon.      The disputed issues
22   of material fact relate to the question of whether Defendant
23   Officer Tingley had probable cause to arrest Plaintiff for
24   carrying a concealed firearm, and exhibiting a firearm, as it is
25   disputed whether the offenses were committed in the officers’
26   presence.
27          IV. Qualified Immunity
28          Defendant Tingley also asserts that he is entitled to

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 1   qualified immunity on Plaintiff’s Section 1983 claim.       “In order
 2   to be entitled to qualified immunity, the officers must show that
 3   their discretionary conduct did not violate any clearly
 4   established rights of which a reasonable person should have
 5   known.”    Penilla v. City of Huntington Park, 115 F.3d 707, 709
 6   (9th Cir. 1997).    “Summary judgment on qualified immunity is not
 7   proper unless the evidence permits only one reasonable
 8   conclusion.   Where ‘conflicting inferences may be drawn from the
 9   facts, the case must go to the jury.’”      Munger v. City of Glasgow
10   Police Dept., 227 F.3d 1082, 1087 (9th Cir. 2000)(quoting LaLonde
11   v. County of Riverside, 204 F.3d 947, 959 (9th Cir. 2000)).
12   Defendant Officer Tingley has the burden to show that “‘a
13   reasonable officer could have believed, in light of the settled
14   law, that he was not violating a constitutional or statutory
15   right.’”   Id. (quoting Collins v. Jordan, 110 F.3d 1363, 1369
16   (9th Cir. 1996)).    “If the right is clearly established, the
17   court must determine whether the defendant’s conduct was
18   ‘objectively legally reasonable’ given the information possessed
19   by the defendant at the time of his or her conduct.”       Lawrence v.
20   U.S., 340 F.3d 952, 955 (9th Cir. 2003)(citing Anderson v.
21   Creighton, 483 U.S. 635, 639-40 (1987)).      “[Q]ualified immunity
22   shields agents ... if ‘a reasonable officer could have believed
23   [the action] to be lawful, in light of clearly established law
24   and the information the [arresting] officers possessed.’”        Hunter
25   v. Bryant, 502 U.S. 224, 227 (1991)(quoting Anderson, 483 U.S. at
26   641.)
27        Nevertheless, the evidence must be viewed in a light most
28   favorable to the nonmoving party.      Anderson, 477 U.S. at 255.

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 1        It is clearly established law that arresting an individual
 2   without probable cause constitutes unreasonable search and
 3   seizure under the Fourth Amendment.     The qualified immunity
 4   analysis reduces to a single particularized inquiry: whether “a
 5   reasonable officer could have believed that probable cause
 6   existed [for the] arrest” under the circumstances.        Edgerly, 495
 7   F.3d at 654.   If so, Officer Tingley is entitled to qualified
 8   immunity.   If the reverse, then Officer Tingley is not entitled
 9   to immunity under the law.     Hunter, 502 U.S. at 227.
10        Probable cause existed if “at the moment the arrest was made
11   ... the facts and circumstances within their knowledge and of
12   which they had reasonably trustworthy information were sufficient
13   to warrant a prudent man in believing” that Officer Tingley had
14   probable cause to arrest Oxborrow for carrying a concealed weapon
15   and exhibiting a firearm.    Id. at 228.   Here, Officer Tingley was
16   responding to a New Years Eve 911 call regarding a man in the
17   parking lot of Outlaws Bar with a gun.     Officer Tingley
18   approached the scene in search of a man with a gun.       After
19   Officer Tingley and his colleagues detained all subjects in the
20   parking lot at gunpoint, Oxborrow stated to a passing officer he
21   had a loaded gun in his car.    Officer Tingley approached
22   Plaintiff and asked Plaintiff where the weapon was located.
23   Plaintiff Oxborrow told Officer Tingley that the gun was in the
24   front seat.    Officer Tingley found a loaded gun in Plaintiff’s
25   vehicle capable of being fired.     Officer Tingley then asked
26   Plaintiff if he had a concealed weapons permit and Plaintiff
27   responded in the negative.    Officer Tingley interviewed two
28   independent witnesses who stated they heard a noise and saw

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 1   Plaintiff holding a gun.    Officer Tingley and other officers
 2   performed an investigation at the scene, interviewed witnesses,
 3   suspects and made conclusions regarding the crimes committed.
 4        Plaintiff’s expert, former law enforcement officer and
 5   instructor, Curtis J. Cope, opines that under California law
 6   enforcement standards, an officer is taught that the officer may
 7   make a warrantless arrest of a person whenever the officer has
 8   probable cause to believe that the person to be arrested
 9   committed a misdemeanor in their presence which includes carrying
10   a loaded firearm on an individual person’s or in a vehicle while
11   in any public place or on any public street.      (Doc. 17-6, Cope
12   Decl., p. 4:14-18)   Mr. Cope further opines “that a reasonable
13   officer would have considered that there was probable cause to
14   arrest plaintiff at that time.”     (Id. at p. 4:17-18)    The time of
15   arrest, is the standard for addressing qualified immunity and a
16   reasonable officer would have reason to believe that Officer
17   Tingley, with the information known to him, had probable cause to
18   arrest Plaintiff Oxborrow based upon California Penal Code
19   section 12025(a)(1) which states, “A person is guilty of carrying
20   a concealed firearm when he or she does any of the following:
21   Carries concealed within any vehicle which is under his control
22   or direction any pistol, revolver, or other firearm capable of
23   being concealed upon the person.”      (Id. at p. 4:14-17)
24        A reasonable officer would have reason to believe that with
25   the information known to Officer Tingley, probable cause existed
26   to arrest Plaintiff Oxborrow based upon California Penal Code
27   section 417(a)(2), which states, in part, “Every person who,
28   except in self-defense, in the presence of any other person,

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 1   draws or exhibits any firearm, whether loaded or unloaded, in a
 2   rude, angry or threatening manner, or who in any manner,
 3   unlawfully uses a firearm in any fight or quarrel is
 4   punishable...”    Two of the witnesses Officer Tingley interviewed
 5   told him they heard a noise and saw Plaintiff holding a gun.
 6   Plaintiff admitted to Officer Tingley the gun was his.        Plaintiff
 7   admitted he attempted to conceal the gun and thought he had been
 8   successful.    The officers found the gun loaded.
 9        Defendant Officer Tingley disputes Plaintiff’s self-defense
10   assertion and responds that Plaintiff appeared intoxicated.
11   Plaintiff stated to him that he had an opportunity to leave but
12   choose not to because he was too intoxicated.      When Plaintiff
13   obtained the gun from the trunk of his vehicle, no one was
14   present.    All this weighed in Officer Tingley’s determination
15   that there was no valid self-defense claim.      Officer Tingley
16   states that if Plaintiff was in fear of his life and safety, one
17   would do pretty much “everything and anything to remove themself
18   from the situation if, in fact, the person is in fear for his
19   life.”   (Doc. 17, Decl. Hager, Exhibit L, Depo. Tingley, p.56:20-
20   25-57:1-23)    Defendant Officer Tingley alleges that Plaintiff had
21   the opportunity to slowly walk away or run away from the scene
22   because Mr. Lopez, who posed the threat had left the scene.        But
23   Plaintiff and Mr. Bridges remained sitting in their vehicle for a
24   period of time when they had the opportunity to leave.        (Id., p.
25   60:10-16)
26        Officer Tingley had reasonable, trustworthy information from
27   percipient witnesses on the scene, to believe Plaintiff Oxborrow
28   had committed the offenses.    Even if Officer Tingley reasonably

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 1   but mistakenly concluded that probable cause was present, he is
 2   entitled to qualified immunity.        Hunter v. Bryant, 502 U.S. 224,
 3   227 (1994)(“The qualified immunity standard ‘gives ample room for
 4   mistaken judgments’ by protecting ‘all but the plainly
 5   incompetent or those who knowingly violate the law.’”)
 6          Defendants’ motion for summary judgment on Plaintiff’s §
 7   1983 Fourth Amendment unreasonable search and seizure claim on
 8   qualified immunity grounds is GRANTED.
 9   B.     Section 1983 Monell Liability
10          Plaintiff’s Complaint alleges a claim against the City of
11   Coalinga under Section 1983 for their custom, practice and policy
12   of discrimination against persons who are not local residences.
13   However, Plaintiff in its Opposition papers, to Defendants’
14   Motion for Summary Judgment provides no argument nor evidence to
15   survive a summary judgment challenge to any Monell claims.           Local
16   governments are “persons" subject to suit for "constitutional
17   tort[s]” under 42 U.S.C. § 1983.          Haugen v. Brosseau, 339 F.3d
18   857, 874 (9th Cir. 2003)(citing Monell v. Dep't of Soc. Servs.,
19   436 U.S. 658, 691 n.55 (1978))       “[O]ur holding...that local
20   governments can be sued under § 1983 necessarily decides that
21   local government officials sued in their official capacities are
22   "persons" under § 1983 in those cases in which, as here, a local
23   government would be suable in its own name.”          Monell, 436 U.S. at
24   691 n.55.     “Local governing bodies, therefore, can be sued
25   directly under § 1983 for monetary, declaratory, or injunctive
26   relief where, as here, the action that is alleged to be
27   unconstitutional, implements or executes a policy statement,
28   ordinance, regulation, or decision officially adopted and

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 1   promulgated by that body's officers...[or for] deprivations
 2   visited pursuant to governmental ‘custom' even though such a
 3   custom has not received formal approval through the body's
 4   official decisionmaking channels.”        Id. at 690-91.
 5          To prevail on a § 1983 complaint against a local government
 6   under Monell, a plaintiff must satisfy a three-part test: (1) The
 7   official(s) must have violated the plaintiff's constitutional
 8   rights; (2) The violation must be a part of policy or custom and
 9   may not be an isolated incident; and (3) A nexus must link the
10   specific policy or custom to the plaintiff's injury.          See Monell,
11   436 U.S. at 690-92.      There are three ways to show a policy or
12   custom of a municipality:
13                (1) By showing a longstanding practice or custom which
                  constitutes the standard operating procedure of the
14                local government entity;
                  (2) By showing that the decision-making official was,
15                as a matter of state law, a final policymaking
                  authority whose edicts or acts may fairly be said to
16                represent official policy in the area of decision or
                  (3) By showing that an official with final
17                policymaking authority either delegated that authority
                  to, or ratified the decision of, a subordinate.
18
     Menotti v. City of Seattle, 409 F.3d 1113, 1147 (9th Cir. 2005).
19
            Plaintiff advised at oral argument that he was not pursuing
20
     a Monell claim.     Defendants’ motion for summary adjudication as
21
     to Plaintiff’s Section 1983 policy and custom claim against
22
     Defendant City of Coalinga based on Monell is GRANTED.
23
     C.     Section 1983: Fourteenth Amendment Equal Protection Under
24          the Laws
25          Equal Protection is a right secured by the United States
26   Constitution.     See, e.g., Vill. of Willowbrook v. Olech, 528 U.S.
27   562, 564 (2000) (Equal Protection clause intended to protect
28   every person within a state from intentional and arbitrary

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 1   discrimination).      A claim for equal protection under § 1983
 2   requires Plaintiffs to show that Defendant Tingley, under color
 3   of law, “acted with an intent or purpose to discriminate against
 4   the plaintiff based upon membership in a protected class,” in
 5   violation of Plaintiffs right to equal protection of the laws
 6   under the Fourteenth Amendment.        Barren v. Harrington, 152 F.3d
 7   1193, 1194-95 (9th Cir. 1998)(citing Washington v. Davis, 426
 8   U.S. 229, 239-40 (1976))
 9          Plaintiff provides no evidence or any argument in support of
10   his third claim for Section 1983 violation of his Fourteenth
11   Amendment Equal Protection of the Laws that he is a member of a
12   cognizable class.      Plaintiff’s Complaint alleges that Officer
13   Tingley violated his right to equal protection of the laws under
14   the Fourteenth Amendment because he targeted persons who were
15   non-residents for arrest without probable cause.          Neither party
16   objected to the dismissal of this claim at oral argument.
17          Defendants’ motion for summary adjudication of Plaintiff’s §
18   1983 Equal Protection under the Fourteenth Amendment claim is
19   GRANTED.
20   //
21   //
22   //
23   //
24   //
25   //
26   //
27   //
28   //

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 1                                 6.   CONCLUSION
 2            For all the reasons stated above,
 3            Defendants’ motion for summary judgment as to claims brought
 4   against Defendants Simons and Medina is GRANTED.
 5            Defendant’ Tingley’s motion for summary judgment on
 6   Plaintiff’s § 1983 Fourth Amendment claim is GRANTED on qualified
 7   immunity grounds.
 8            Defendants’ motion for summary adjudication on Plaintiff’s §
 9   1983 Monell policy and custom claim against the City of Coalinga
10   is GRANTED.       Judgment shall be entered against Plaintiff in favor
11   of the City of Coalinga.
12            Defendants’ motion for summary adjudication on Plaintiff’s §
13   1983 Equal Protection under the Fourteenth Amendment claim is
14   GRANTED.
15            Counsel for Defendants shall prepare and lodge a form of
16   order and judgment reflecting the ruling made in this Memorandum
17   Decision within 5 days of the filing date of this Memorandum
18   Decision.
19
20
21   IT IS SO ORDERED.
22   Dated:     May 28, 2008                 /s/ Oliver W. Wanger
     bb4ed                              UNITED STATES DISTRICT JUDGE
23
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